 

Case 1:20-cr-00454-GBD Document 7 Filed 10/19/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

 

Plaintiff,

ORDER

-against-
20 Crim. 454 (GBD)

URSULA WING,

Defendant.

GEORGE B. DANIELS, United States District Judge:

The October 20, 2020 status conference is rescheduled to October 20, 2020 at 10:30 a.m.

Dated: New York, New York
October 19, 2020
SO ORDERED.

R . DANIELS

Cpe tes District Judge

 
